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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

UNITED STATES OF AMERICA,                   :
                                            :
      Plaintiff,                            :
                                            :          CIVIL ACTION NO.
      v.                                    :           1:17-cr-0224-AT-1
                                            :
ALLEN J. PENDERGRASS                        :
                                            :
      Defendant.                            :
                                            :
                                            :
                                            :


                             ORDER SETTING TRIAL

      The Court hereby sets the trial date for defendant Allen J. Pendergrass to begin

on Monday, November 29, 2021, at 9:30 AM in Courtroom 2308, United States

Courthouse, 75 Spring Street, S.W., Atlanta, Georgia. The pretrial conference is set

for Wednesday, November 17, 2021, at 10:30 AM in Courtroom 2308. By 5:00 PM

on October 26, 2021, the parties are to file their respective motions in limine and voir

dire questions. By 5:00 PM on October 26, 2021, the Government is to file a brief

statement of facts the parties can rely on for voir dire. By 5:00 PM on November 9,

2021, the parties are to file any objections to those items listed above. The time from

October 12, 2021, to November 29, 2022, shall be excluded from computation under
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the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A), (h)(7)(B)(i), and

(h)(7)(B)(iv).

       The parties should be prepared to provide the Courtroom Deputy Clerk with

three (3) copies of your respective exhibit and witness lists at the start of trial for use

by the Judge, Court Reporter, and Courtroom Deputy Clerk. Each party should also

provide a courtesy copy of all exhibits for the Judge’s use during trial, preferably in

an appropriately labeled notebook provided on the first day of trial. The parties are

referred to Local Rule 16.4(B)(19)(b), NDGa, concerning the pre-marking of

exhibits. The parties must provide a courtesy copy of any documents e-filed just

prior to trial or on any day during the course of the trial.

      Please refer to Judge Totenberg’s Guidelines to Parties and Counsel at

http://www.gand.uscourts.gov/case-prep-judge-totenberg for information regarding

the pretrial conference, voir dire, and courtroom technology. Any training or trial

runs regarding the courtroom technology must be scheduled in advance of trial via

the Courtroom Deputy Clerk. The Court will not allow time for training or trial runs

at the beginning of the trial. Any motions requesting leave to bring technology into

the courtroom must be filed no later than three (3) days in advance of trial, to allow

time for proper notification to the US Marshals Service.




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SO ORDERED this 12th day of October, 2021,



                      ___________________________________
                      AMY TOTENBERG
                      UNITED STATES DISTRICT JUDGE




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